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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:21−cr−00698
                                                       Honorable Robert W. Gettleman
Ronald T. Molo
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 4, 2022:


        MINUTE entry before the Honorable Robert W. Gettleman as to Ronald T. Molo:
Telephonic hearing held on 2/4/2022. Defendant appeared on the hearing telephonically.
Counsel updated the court on the status of the case. Telephonic hearing set for 4/20/2022
at 9:00 a.m. The call−in number is (888) 684−8852 and the access code is 1503395. By
agreement, the Court deems the period of time from 2/4/2022 to 4/20/2022 excludable
under 18 U.S.C. §3161(h)(7)(A) − interest of justice. Mailed notice (cn).




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